Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1034 Filed 05/14/25 Page 1 of 8




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,
                                         Case No. 24-cr-20048
v.                                       Hon. Mark A. Goldsmith

REGINALD MORRIS,

          Defendant.
________________________________/

   GOVERNMENT’S SUPPLEMENTAL BRIEF REGARDING
 DANGEROUSNESS RELATING TO DEFENDANT’S MOTION TO
   DISMISS COUNTS EIGHT AND TEN OF INDICTMENT AS
            UNCONSTITUTIONAL (ECF No. 102)

      During the February 14, 2024 detention hearing before Magistrate

Judge Anthony P. Patti, government counsel proffered facts about the

instant offense and, when doing so, played several recordings of

Reginald Morris discussing drug trafficking, describing his access to

firearms, and threatening to use those firearms to confront drug

trafficking coconspirators. See Audio, ECF No. 35; Transcript, ECF No.

133. Portions of that detention hearing are described below as well as

other evidence of Morris’s dangerousness.
Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1035 Filed 05/14/25 Page 2 of 8




                              Drug Trafficking

      Morris played an instrumental role procuring, shipping, and

tracking the two packages of methamphetamine that were seized and

form the basis for the methamphetamine charges against Morris in the

Indictment. On October 18, 2023, an officer observed Morris outside a

UPS store in Los Angeles shortly before codefendant Ajeet Dhillon

entered the UPS store to ship the two packages. See ECF No. 133,

PageID.1002. Prior to the packages being shipped, Morris was

intercepted discussing the destination addresses for the two packages.

ECF No. 133, PageID.1002-1003. After the packages were shipped,

Morris was intercepted discussing tracking information related to the

packages, including information from third-party trackers that the

conspirators placed in the packages. ECF No. 133, PageID.1003.

      On November 15, 2023, when Morris’s residence was searched,

officers found a cutting station in the garage. See ECF No. 133,

PageID.1011. According to government counsel’s proffer, based on

information from case agents, a cutting station is a station where

cutting material could be mixed with heroin and fentanyl when


                                      2
Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1036 Filed 05/14/25 Page 3 of 8




preparing and manufacturing drugs. See id. Officers also found a drug

press in the garage that contained 310 grams of fentanyl. Id.

      Morris’s stepfather (or father) is codefendant Tyrone Thurmond,

Sr. (aka Pops or Daddy). ECF No. 133, PageID.1001. Thurmond, Sr.

stated that Morris had access to and sometimes stayed at Thurmond,

Sr.’s residence. ECF No. 133, PageID.1010. On November 15, 2023,

when Thurmond, Sr.’s residence was searched, officers found a press

containing 81 grams of fentanyl.

                             Access to Firearms

      Morris and codefendant Thurmond, Jr. have a mother in common,

sometimes referred to as Mama. ECF No. 133, PageID.1001. On

November 15, 2023, when Morris’s mother’s residence was searched,

officers found mail addressed to Morris, which along with intercepted

calls shows he had access to his mother’s residence. See ECF No. 133,

PageID.1009. Tracking data for Morris’s phone corroborates that Morris

frequented both Mama’s residence and Pops’ residence. ECF No. 133,

PageID.1024.




                                      3
Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1037 Filed 05/14/25 Page 4 of 8




      During an intercepted October 23, 2023 call, Morris and

codefendant Thurmond, Jr. discussed moving firearms from Pops’

(codefendant Thurmond, Sr.’s) residence to Mama’s residence. ECF No.

133, PageID.1008. During that call, they also discussed specific types of

firearms, including an AR, a Draco, and a 5.7. Id. During an intercepted

call earlier that day, they discussed straps and buttons at Daddy’s

residence, some of which they had moved to Mama’s residence. See ECF

No. 133, PageID.1007. According to government counsel’s proffer, based

on information from case agents, a strap, button or switch is a street

term for a device that converts a handgun into a machine gun that

shoots many bullets with one pull of the trigger (aka a Glock switch).

See ECF No. 133, PageID.1005, 1007.

      On November 15, 2023, when officers searched Mama’s residence,

they seized several firearms, most of which were in the open in an

upstairs bedroom. See ECF No. 133, PageID.1009. The firearms

included a 5.7 and several ARs, consistent with the specific types of

firearms discussed on intercepted calls. Id. Officers also seized a Glock

pistol with a switch that converts the pistol into a machine gun. Id. In


                                      4
Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1038 Filed 05/14/25 Page 5 of 8




another upstairs bedroom, officers seized an armored plate vest with a

plate and, from a downstairs bedroom, officers seized several additional

firearms. Id.

      On November 15, 2023, when officers searched Daddy’s residence,

they seized seven firearms. See ECF No. 133, PageID.1008. The

weapons included two AK-47 style rifles, one of which was identified as

an AK-47 Draco rifle, consistent with the specific types of firearms

discussed on intercepted calls. Id.

                Firearms in Furtherance of Drug Trafficking

      During intercepted phone calls, Morris repeatedly threatened to

confront drug trafficking coconspirators with a firearm, including

firearms with a Glock switch.

      During an October 23, 2023 call between Morris and codefendant

Carl Vann, Morris talked about getting “Twin” (aka Martaze Davis,

defendant in a methamphetamine conspiracy, see Case No. 24-cr-20054)

down to the hood so Morris could put a “switch on his ass.” See ECF No.

133, PageID.1003-1005. A few minutes later, during a call between

Morris and codefendant Thurmond, Jr., Morris talks about “Twin” and


                                      5
Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1039 Filed 05/14/25 Page 6 of 8




Morris wanting to confront “Twin” with a “button.” See ECF No. 133,

PageID.1005. A few minutes later (on a different call), Morris asks

codefendant Thurmond, Jr. to invite “Twin” down to the hood to

purchase some “waters” (a street term for methamphetamine). See ECF

No. 133, PageID.1006.

      On November 1, 2023, Morris has a heated conversation with a

defendant (indicted for drug trafficking in West Virginia) wherein

Morris threatens the defendant to pay him (Morris) or else the

defendant will “own” Morris’s gun, which, based on information from

case agents, is a threat to use a firearm. See ECF No. 133, PageID.1006.

      On November 2, 2023, Morris told codefendant Thurmond, Jr. that

he (Morris) wanted to confront a person with the name “Mookie” with a

gun. ECF No. 133, PageID.1007.

                          Other Criminal History

      According to the Pretrial Services Report dated February 12, 2024

(prepared before the benefit of hearing the recordings described and

played at the duty court detention hearing), Morris’s criminal history

includes a June 4, 2008 arrest, June 13, 2008 guilty plea, and


                                      6
Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1040 Filed 05/14/25 Page 7 of 8




September 4, 2008 sentencing (later converted to HYTA that was then

revoked) for attempted controlled substance delivery / manufacture

(cocaine, heroin, or another narcotic) less than 50 grams. The report

also documents a July 10, 2012 arrest, May 2, 2014 guilty plea, and

July 8, 2014 sentencing for multiple counts, including felony carrying

concealed weapons. The report also documents a history of drug abuse,

including a then current urinalysis with a presumed positive for

marijuana, oxycodone, fentanyl, and opiates.



                                    Respectfully submitted,

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Dated: May 14, 2025                 P83191




                                      7
Case 2:24-cr-20048-MAG-KGA ECF No. 134, PageID.1041 Filed 05/14/25 Page 8 of 8




                         Certification of Service

      I certify that on May 14, 2025, I electronically filed the foregoing

using the ECF system, which will send notification of such filing to all

ECF participants.

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